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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK

 Daniel Shak, et al.,                        §
                                             §
 v.                                          §
                                             §   No. 15cv992(PAE)
 JPMorgan Chase & Co., et al.                §


 Thomas Wacker, et al.,                      §
                                             §
 v.                                          §
                                             §   No. 15cv994(PAE)
 JPMorgan Chase & Co., et al.                §



 Mark Grumet, et al.,                        §
                                             §
 v.                                          §
                                             §   No. 15cv995(PAE)
 JPMorgan Chase & Co., et al.                §

                     MOTION OF THE UNITED STATES
                  FOR A SECOND EXTENSION OF THE STAY

      The United States, through its undersigned counsel, respectfully submits this

Motion for a Second Extension of the Stay. For the reasons set forth below, the United

States respectfully requests that the Court extend the current stay of these civil cases

through the conclusion of a related criminal prosecution pending in United States v.

Smith, et al., Case No. 19 CR 669 (N.D. Ill.).

      The criminal case in Smith covers a broader range of conduct, events, and time

than is presently addressed in these civil cases, however, the criminal case does

overlap with the conduct at issue in these cases.       The government respectfully

suggests that the requested stay would benefit this Court and all parties by
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minimizing redundant litigation, narrowing the scope of discovery and issues to be

adjudicated in this case, and relieving individuals of the choice of having to

potentially invoke their rights against self-incrimination.

      Prior to filing this motion, the government conferred with Sullivan &

Cromwell LLP, counsel for the defendants, who stated that they do not oppose the

government’s request to extend the stay through the resolution of the criminal case.

The government also conferred with plaintiffs’ counsel who stated they opposed the

government’s request for a stay and planned to file a submission with the Court on

the issue, which may include a request for leave to amend their complaint.

                                  BACKGROUND

      On November 26, 2018, the government intervened in these civil cases, and on

November 30, 2018, the Court stayed the cases until May 31, 2019. On June 10, 2019,

the Court granted the government’s motion to extend the stay until October 31, 2019.

During the pendency of the stays, the government has been conducting an ongoing

criminal investigation into precious metals trading activity at J.P. Morgan Chase

Bank, N.A. (“JPMorgan”).

      On August 22, 2019, a grand jury in the United States District Court for the

Northern District of Illinois returned a sealed 14-count indictment (the “Indictment”),

charging three current and former precious metals traders at JPMorgan—Gregg

Smith, Michael Nowak, and Christopher Jordan—with conspiracy to conduct or

participate in an enterprise engaged in a pattern of racketeering activity, in violation

of 18 U.S.C. § 1962(d); conspiracy to commit price manipulation, bank fraud, wire




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fraud affecting a financial institution, commodities fraud, and spoofing, in violation

of 18 U.S.C. § 371; bank fraud, in violation of 18 U.S.C. § 1344(1); and wire fraud

affecting a financial institution, in violation of 18 U.S.C. § 1343. (Indictment ¶¶ 21,

44, 51, 54, 57, 59, 61, 63, 65 & 67, United States v. Smith et al, Case No. 19 CR 669,

Dkt. No. 1 (N.D Ill. Aug. 22, 2019).) The Indictment also charged Nowak and Smith

with attempted price manipulation, in violation of 7 U.S.C. § 13(a)(2); commodities

fraud, in violation of 18 U.S.C. § 1348(1); and spoofing, in violation of 7 U.S.C.

§§ 6c(a)(5)(C) and 13(a)(2). (Id. ¶¶ 51, 54, 69, 71, 73 & 75.)

      According to the Indictment, beginning in or around May 2008 and continuing

until at least in or around August 2016, Smith, Nowak, and Jordan, together with

their co-conspirators, placed orders to buy and sell precious metals futures contracts

with the intent to cancel those orders before execution, including in an attempt to

artificially affect prices and to profit by deceiving other market participants. (Id.

¶¶ 25, 44(e), 73, 75.) The Indictment alleges, among other things, that Smith, Nowak,

and Jordan and their co-conspirators placed one or more orders for precious metals

futures contracts on one side of the market which, at the time Smith, Nowak, and

Jordan placed the orders, they intended to cancel before execution. (Id. ¶ 25(b).) By

placing these orders for precious metals futures contracts, Smith, Nowak, and Jordan

and their co-conspirators created the false appearance of substantial supply or

demand in order to fraudulently induce other market participants to react to their

deceptive market information. (Id. ¶¶ 25(f)-(k), 63, 65.) This increased the likelihood

that one or more of their opposite-side orders would be filled by other market




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participants, allowing Smith, Nowak, and Jordan, and their co-conspirators, to

generate trading profits and avoid losses for themselves and other members of the

precious metals desk at “Bank A,” the precious metals desk itself, and, ultimately,

Bank A. (Id. ¶ 25(j).) In addition, as it relates more specifically to the subject matter

at issue in these civil actions, the Indictment alleges:

      36.        On September 24, 2009, in an electronic chat, [co-conspirator
                 (“CC”)]-3 had the following conversation with CC-4:
        CC-3:    I offered a lot of sil switches 100 to 200 a switch. Spoofed locals
                 aftewr number and hopefully mr s h a q
        CC-4:    good man

(Id. ¶ 36.) Finally, also as alleged in the indictment, Smith, Nowak, and Jordan and

their co-conspirators defrauded JPMorgan’s clients who had bought or sold “barrier

options” by trading precious metals futures contracts in a manner that attempted to

push the price towards a price level at which JPMorgan would make money on the

option (“barrier-running”), or away from a price level at which JPMorgan would lose

money on the option (“barrier-defending”). (Id. ¶ 26.)

      On September 16, 2019, Smith, Nowak, and Jordan were arrested, and the

Indictment was unsealed. On October 22, 2019, Nowak and Smith were arraigned

before U.S. District Court Judge Edmond E. Chang, and on October 25, 2019, Jordan

filed a waiver of his appearance at an arraignment. No trial date has been set in the

criminal case and the next status hearing is scheduled for December 5, 2019.




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                                    DISCUSSION

I.    A Stay is Warranted through the Resolution of the Criminal Case

      This Court has inherent authority to enter a stay in these civil actions, deriving

from the broader power inherent in every court “to control the disposition of the

causes on its docket with economy of time and effort for itself, for counsel, and for the

litigants.” Landis v. North American Co., 299 U.S. 248, 254 (1936). When considering

whether to stay a civil action pending the resolution of a criminal case, courts in the

Second Circuit consider six factors:

      1) the extent to which the issues in the criminal case overlap with those
      presented in the civil case; 2) the status of the case, including whether
      the defendants have been indicted; 3) the private interests of the
      plaintiffs in proceeding expeditiously weighed against the prejudice to
      plaintiffs caused by the delay; 4) the private interests of and burden on
      the defendants; 5) the interests of the courts; and 6) the public interest.

Louis Vuitton Malletier S.A. v. LY USA, Inc., 676 F.3d 83, 99 (2d Cir. 2012) (quotation

omitted). The government recognizes these cases have been pending before the Court

for lengthy period of time, but the government respectfully submits that each of these

factors supports a continued stay in these civil cases through the resolution of the

criminal case in United States v. Smith, et al.

      Overlap of issues in between the civil and criminal cases. The Indictment

alleges that individuals associated with JPMorgan’s precious metals desk conducted

the affairs of the desk through a pattern of racketeering activity between May 2008

and August 2016. (Indictment ¶ 21.) While the time period and types of activity

occurring on JPMorgan’s precious metals desk is broader than the allegations in these

civil cases, the conduct at issue in the Indictment does overlap, in part, with the



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allegations in these civil cases. (See Indictment ¶ 36 (“CC-3: I offered a lot of sil

switches 100 to 200 a switch.      Spoofed locals aftewr number and hopefully mr

s h a q”).) The overlap between the allegations in these civil cases and the allegations

in the Indictment—even though the allegations here are more focused than the

broader scope of the Indictment—weighs in favor of extending the stay. See Volmar

Distributors, Inc. v. New York Post Co., 152 F.R.D. 36, 39 (S.D.N.Y. 1993) (“The most

important factor at the threshold is the degree to which the civil issues overlap with

the criminal issues.”) (quotation omitted).

      Status of the criminal case.     The defendants charged in the Indictment—

Smith, Nowak, and Jordan—are not defendants in these civil actions. Generally,

“[t]he strongest case for granting a stay is where a party under criminal indictment

is required to defend a civil proceeding involving the same matter.”            Volmar

Distributors, 152 F.R.D. at 39; see also Louis Vuitton, 676 F.3d at 101 (recognizing

that indictment in parallel criminal proceeding “supported the entry of a stay”).

Nonetheless, while not a named defendant, before the Court stayed these civil cases,

the plaintiffs sought to re-open discovery and re-depose Nowak, among others.

(See November 14, 2018 Kirby McInerney LLP letter (Dkt. No. 245).) If the stay was

lifted in these cases, therefore, the plaintiffs presumably would renew their request

to re-depose Nowak, which would force him to decide whether to assert his Fifth

Amendment right against self-incrimination. See SEC v. Treadway, No. 04 CIV.3464

VM JCF, 2005 WL 713826, at *4 (S.D.N.Y. Mar. 30, 2005) (“[I]n the absence of a stay,

[defendants] are faced with the dilemma of making potentially incriminating




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admissions during discovery or asserting their Fifth Amendment rights, on the basis

of which the civil jury can draw an adverse inference.”). The status of the criminal

case, and the likelihood that at least one of the defendants charged in the Indictment

will be deposed if the stay is lifted, weigh in favor of extending the stay.

      The interests of the plaintiffs.      The plaintiffs in this case oppose the

government’s request to extend the stay and the government understands that they

are likely to seek leave to amend their complaint and re-open discovery. To the extent

that the plaintiffs claim any prejudice by an extension of the stay, that argument is

undercut by the fact that one likely basis the plaintiffs may cite as a reason to grant

them leave to amend their Second Amended Complaint is grounded in evidence

uncovered through the government’s investigation.          Specifically, the Indictment

contains allegations regarding a September 24, 2009 communication between alleged

co-conspirators that appears to relate to spoofing in connection plaintiff Daniel Shak

and other “locals” on the trading floor. (See Indictment ¶ 36 (“Spoofed locals aftewr

number and hopefully mr s h a q”).) This communications pre-dates the relevant

period covered in the Second Amended Complaint—late 2010 and early 2011—and

the government expects this communication likely will be one basis for a request to

amend the Second Amended Complaint to expand its relevant time period. To the

extent, therefore, that the plaintiffs believe they would suffer any prejudice by

extending the stay through the resolution of the criminal case, that is outweighed by

the benefits that will inure to the plaintiffs from both the additional evidence that

may come to light in the government’s criminal case as well as the likely narrowing




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of issues in dispute in these civil cases. See In re Worldcom, Inc. Sec. Litig., No. 02

Civ. 3288, 2002 WL 31729501, at *8 (S.D.N.Y. Dec. 5, 2002) (“The conviction of a civil

defendant as a result of the entry of a plea or following a trial can contribute

significantly to the narrowing of issues in dispute in the overlapping civil cases and

promote settlement of civil litigation.”). Continuing the stay through the end of the

criminal case in United States v. Smith, et al. will not prejudice the plaintiffs in these

civil cases.

       The interests of the defendants. The defendants do not oppose the government’s

request to extend a stay. While not a named party in these civil cases, Nowak is

charged in the Indictment and, as discussed above, the plaintiffs in these civil cases

have sought to re-depose him, which may lead him to assert his Fifth Amendment

right against self-incrimination. That assertion by Nowak—still a current JPMorgan

employee—may be the basis for an adverse inference against the defendants. The

lack of any opposition by the defendants, and the potential for an adverse inference

if Nowak asserts his Fifth Amendment rights, weighs in favor of extending the stay.

Cf. Treadway, 2005 WL 713826, at *4 (recognizing the quandary defendants face

when choosing between submitting to testimony that could lead to inculpatory

admissions and asserting their Fifth Amendment rights that would draw an adverse

inference).

       The interests of the Court. When evaluating this factor, courts often look to the

“convenience of the court in the management of its cases” as well as the “efficient use

of judicial resources.” Sterling Nat. Bank v. A-1 Hotels Int’l, Inc., 175 F. Supp. 2d




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573, 576 (S.D.N.Y. 2001) (internal quotation marks and citations omitted). The

government fully recognizes that these civil cases have been pending for a long period

of time, but the government respectfully suggests that these civil cases are still “likely

to benefit to some extent from the Criminal Case no matter its outcome.” SEC v. One

or More Unknown Purchasers of Sec. of Glob. Indus., No. 11-cv-6500 (RA), 2012 WL

5505738, at *4 (S.D.N.Y. Nov. 9, 2012). By extending the stay in these cases, the

Court can “avoid a duplication of efforts and a waste of judicial time and resources.”

SEC v. Shkreli, No. 15-cv-7175 (KAM), 2016 WL 1122029, at *6 (E.D.N.Y. Mar. 22,

2016) (citation omitted). The criminal case likely will resolve issues of fact common

to these civil cases and may reduce the number of issues to be decided in subsequent

proceedings. See SEC v. Contorinis, No. 09-CV-1043 (RJS), 2012 WL 512626, at *3

(S.D.N.Y. Feb. 3, 2012) (“Courts in this district have consistently found that a

defendant convicted of securities fraud in a criminal proceeding is collaterally

estopped from relitigating the underlying facts in a subsequent civil proceeding.”).

Further—and particularly if the requested stay is through the termination of the

criminal proceedings—resolution of the criminal case could narrow the scope of issues

in this civil litigation, including the scope of re-opening discovery, which would

benefit all parties, as well as judicial economy. See, e.g., SEC v. Blaszczak, No. 17-

CV-3919 (AJN), 2018 WL 301091, at *3 (S.D.N.Y. Jan. 3, 2018) (“The Criminal Case

will resolve issues of fact common to the civil case and may reduce the number of

issues to be decided in subsequent proceedings in this case.”); State Farm Lloyds v.

Wood, No. CIV A H-06-503, 2006 WL 3691115, at *3 (S.D. Tex. Dec. 12, 2006) (“The




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outcome of the criminal proceedings may guide the parties in settlement discussions

and potentially eliminate the need to litigate some or all of the issues in this case.”).

The efficient use of judicial resources, therefore, weighs in favor of extending the stay.

      The public interest. “[T]he public’s interest in the effective enforcement of the

criminal law is the paramount public concern.” Shkreli, 2016 WL 1122029, at *7. As

is true here, “[b]ecause of the overlapping issues in the criminal and civil cases, the

criminal prosecution will serve to advance the public interests at stake here.”

Transworld, 886 F. Supp. at 1140. Further, “a stay of discovery is often necessary

where liberal discovery rules will allow a litigant to undermine, or gain an unfair

advantage in, a potential criminal prosecution which parallels the subject matter of

the civil action.” Treadway, 2005 WL 713826, at *4; see also Morris v. Am. Fed’n of

State, Cnty. & Mun. Emps., No. 99-CV-5125, 2001 WL 123886, at *2 (S.D.N.Y. Feb. 9,

2001) (“The public has an interest in ensuring the criminal discovery process is not

subverted.”). While the defendants charged in the Indictment are not parties to these

civil cases, they may still reap the benefit of civil discovery, and may be able to

circumvent the criminal discovery process, if discovery were to proceed in these civil

cases. See Treadway, 2005 WL 713826, at *4 (staying the deposition of witnesses in

an SEC civil case until the witnesses testify in a related criminal case because counsel

for the defendants in the criminal case “could certainly monitor the depositions [in

the civil action] and use it to the advantage of the defense in the criminal case”).

Extending the stay through the resolution of the criminal case in United States v.

Smith, et al., therefore, would serve the public’s interest of the effective enforcement




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of the criminal laws without any potential interference arising from the civil

discovery process.

                                     CONCLUSION

      For these reasons, the Motion of the United States for a Second Extension of

the Stay seeking to extend the stay in these civil cases through the conclusion of the

related criminal prosecution against in United States v. Smith, et al., Case No. 19 CR

669 (N.D. Ill.) should be granted.

      Dated: October 31, 2019


                                                Respectfully submitted,

                                                ROBERT A. ZINK
                                                Chief, Fraud Section

                                         By:      /s/ Matthew F. Sullivan
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                           CERTIFICATE OF SERVICE

      I, Matthew F. Sullivan, hereby certify that on October 31, 2019, I

electronically filed the foregoing Motion of the United States for a Second Extension

of the Stay with the Clerk of Court using the CM/ECF electronic filing system,

which will automatically send a Notice of Electronic Filing to all parties.


                                                /s/Matthew F. Sullivan
                                               Matthew F. Sullivan
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                                               U.S. Department of Justice
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